                       Case 2:19-cr-00207-GZS Document 89 Filed 08/30/21 Page 1 of 1   PageID #: 201

                                               UNITED STATES DISTRICT COURT
                                                     DISTRICT OF MAINE
      CASE NAME: USA v. Thell Brown

      DOCKET NO: 2:19-cr-207-GZS

      PROCEEDING TYPE: Suppression Hearing

                                                           Exhibit List
Gvt   Dft    Court
                                                                                          Date          Date            Date
Exh   Exh    Exh                                   Description                                                   Obj
                                                                                        Mentioned      Offered         Admitted
No.   No.     No.
 1                                             Watch Guard Video                        8/30/2021   8/30/2021          8/30/2021

 2                                             Watch Guard Video                        8/30/2021   8/30/2021          8/30/2021

 6                                             License plate lookup                     8/30/2021   8/30/2021          8/30/2021

 3                                       Screen shot of Watch Guard Video               8/30/2021   8/30/2021          8/30/2021

 4                                       Screen shot of Watch Guard Video               8/30/2021   8/30/2021          8/30/2021

 5                                       Screen shot of Watch Guard Video               8/30/2021   8/30/2021          8/30/2021

               1                                *SEALED* Exhibit                        8/30/2021   8/30/2021          8/30/2021
